                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TENNESSEE
                             GREENEVILLE DIVISION

Jerry Michael Puckett,                      §
Andrew Joseph Puckett, and                  §
George Robert Puckett                       §
                                            §
      Plaintiffs,                           §
v.                                          §
                                            §
Unicoi County, Tennessee;                   §
City of Erwin, Tennessee;                   §
Michael Hensley;                            §        Case No. 2:23-cv-00123-DCLC
Jonathan “Frank” Rogers;                    §
Tony Buchanan;                              §        JURY TRIAL REQUESTED
Ron Arnold;                                 §
Chad Ricker;                                §
Claude Hensley;                             §
Brian Tressler;                             §
Robert Bullington;                          §
R. Mitchell Manuel; and                     §
John and Jane Does No. 1-10                 §
                                            §
      Defendants.


              PLAINTIFFS’ RESPONSE IN OPPOSITION TO
      DEFENDANTS’ JOINT MOTION TO STAY DISCOVERY (DKT. NO. 97)




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       Plaintiffs’ Jerry Michael Puckett, Andrew Joseph Puckett, and George Robert Puckett file

this Response in Opposition to Defendants’ Joint Motion to Stay Discovery (Dkt. No. 97).

       Defendants’ joint motion provides no coherent reason to justify a stay of discovery in this

case. Defendant Manuel has filed a motion to dismiss that pertains to Claim 14 only—a single

claim that is wholly distinct from Claims 1-13. Defendant Manuel is not a defendant as to Claims

1-13. He is a defendant as to Claim 14 only. None of the other defendants are parties to Claim

14. There is no factual overlap between Claims 1-13 as compared to Claim 14 whatsoever

because Claim 14 arises from Judge Manuel’s April 5, 2024 letter. The other defendants have no

interest or concern in Plaintiffs’ request for future declaratory relief against Judge Manuel in

Claim 14. Claims 1-13 simply are not intertwined.

       Irrespective of whether the Court grants a motion to dismiss Claim 14 on grounds of

immunity or otherwise, the litigation as to Claims 1-13 will go on. Plaintiffs have agreed to forgo

taking additional discovery from Defendant Manuel until the court rules on his pending motion

to dismiss. See Exhibit 1 (email correspondence) Plaintiffs’ do not oppose a limited stay of

discovery directed to Defendant Manuel until the Court resolves the pending motion to dismiss.

But none of the other Defendants have moved to dismiss on grounds of immunity, and many of

the defendants have no conceivable claim to any sort of immunity. For all defendants other than

Defendant Manuel, a discovery stay at this time will serve no purpose other than delay.

       Defendants have not met their burden to show good cause, and the joint motion to stay

discovery should be denied.




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   1.        Defendants Have Presented No Coherent Justification for the Requested
             Discovery Stay.

        Defendants’ joint motion correctly recognizes that a discovery stay is disfavored, and that

Defendants’ have the burden to show that some special circumstance presents good cause for the

court to grant a discovery stay. See Memorandum in Support (Dkt. 98) at 1-2. See also Kendell v.

Shanklin, 2020 U.S. Dist. LEXIS 98181, 2020 WL 6748505 (S.D. Ohio June 4, 2020) (denying a

motion to stay and rejecting a variety of alleged special circumstances).

        Defendants’ joint motion, on its face, provides no coherent reason to justify a stay of

discovery in this case. The motion asserts that each of the Law Enforcement Defendants have

asserted qualified immunity in this case (Def’s Memorandum at 2) but none of these defendants

has filed a motion to dismiss. Each of the individual Law Enforcement Defendants has merely

asserted qualified immunity as an affirmative defense in his answer. Defendants Unicoi County

and City of Erwin have no conceivable claim to immunity, nor do the civilian defendants.

        The Sixth Circuit has affirmed a district court stay of discovery that is limited to the

specific claims and specific parties that have filed a motion to dismiss on grounds of immunity,

and the Sixth Circuit favorably endorsed a district court exercising its discretion in this manner.

See Waid v. Early (In re Flint Water Cases), 960 F.3d 820, 826 (6th Cir. 2020). Plaintiffs have

offered to forgo discovery against Defendant Manuel until his motion to dismiss is decided. See

Exhibit 1.

        But Defendants are incorrect to assert that a global stay of discovery for the case is

warranted merely because one party files a motion to dismiss one claim from a case. Courts

routinely deny such overbroad requests for a discovery stay and refuse to delay litigation

discovery that will inevitably need to happen. See, e.g. Kendell, 2020 U.S. Dist. LEXIS 98181 at




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*3-5; Hogan v. Cleveland Ave. Rest., Inc., 2017 U.S. Dist. LEXIS 181067 at *7-8, 2017 WL

5005422 (S.D. Ohio Nov. 1, 2017); Tarazi v. Oshry, 2011 U.S. Dist. LEXIS 39654 at *7-17,

2011 WL 1437052 (S.D. Ohio April 12, 2011). In each of the cited cases, a discovery stay was

denied because the requesting defendant had not shown specific special circumstances to justify

a stay of discovery. “The Court ‘must tread carefully in granting a stay of proceedings since a

party has a right to a determination of its rights and liabilities without undue delay.’” Hogan,

2017 U.S. Dist. LEXIS 181067 at *8 (citing and quoting Ohio Envtl. Council v. U.S. Dist. Ct.,

565 F.2d 393, 396 (6th Cir. 1977)).

       Defendants’ joint motion states: “Some Defendants are currently faced with filing an

Answer and Affirmative Defenses to a Fourth Amended Complaint without knowing if part of

the Plaintiffs’ claims will be resolved by another Defendant’s dispositive motion. . . . [I]f Judge

Manuel is dismissed, any of his alleged coconspirators may be stripped of an absolute defense

and left to respond to duplicative discovery. The result is prejudice and piecemeal litigation.” See

Memorandum at 3. These statements are nonsensical.

       Each defendant has already filed an answer. And, irrespective of whether the Court grants

Defendant Manuel’s motion to dismiss Claim 14, this case will continue as to Claims 1-13 that

are asserted against the other defendants in this case. Plaintiffs make allegations of conspiracy

with Manuel in Claims 1-13 because Plaintiffs intend to hold the other defendants liable for

Judge Manuel’s constitutional wrongs by virtue of their conspiracy with him.

       Moreover, even if Defendant Manuel’s motion to dismiss Claim 14 is granted, he will

still be subject to further discovery in this case. He responded to a Rule 45 subpoena for

documents without objection before he was added as a party defendant, and Plaintiffs will be

entitled to his Rule 45 deposition based on the documents he produced, whether or not he is



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dismissed from the case. Either way, the discovery that defendants now seek to delay will

inevitably need to be taken. The requested stay serves no purpose whatsoever.

   2.      Defendants’ Joint Motion Serves No Purpose Other Than Delay.

        Plaintiffs have provided a full package of previous pleadings and discovery materials to

all newly added defendants to get each of them and their counsel up to speed. None of the newly

added defendants has provided any discovery to Plaintiffs. None of them have served initial

disclosures to even identify the names of persons they know to be witnesses in the case.

        Defendant Claude Hensley has provided information to Plaintiffs’ counsel indicating that

he may be in poor health such that his deposition testimony should be preserved without delay.

        Defendant Michael Hensley and Defendant Rogers were served with written discovery in

November 2024 that they still have not answered.

        Plaintiffs have requested dates for a document custodian deposition from each of Unicoi

County and City of Erwin, but counsel to date has not provided deposition dates. Plaintiffs have

reason to suspect that both Unicoi County and Erwin have not produced all relevant documents

in this litigation, or else that relevant documents are missing or have been destroyed.

        Defendants requested discovery stay would further delay all of this necessary discovery.

All of this discovery will need to be taken irrespective of the Court’s ruling on Defendant

Manuel’s motion to dismiss. Defendant Manuel has no interest in any of this discovery because

none of it relates to Claim 14 whatsoever.

        It can easily be seen that defendants have filed their joint motion to stay discovery solely

for purposes of delay. The motion should be denied, and defendants should be ordered to confer

with Plaintiffs on a revised case and discovery schedule.




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Dated: March 11, 2025

                                              Respectfully Submitted,


                                               /s/ Donald Puckett
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                                 CERTIFICATE OF SERVICE
        I hereby certify that on March 11, 2025, I caused the foregoing to be electronically filed
with the Clerk of the Court using CM/ECF, which will send notification of such filing to all
registered participants.
                                                     /s/ Donald Puckett
                                                     Donald Puckett




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